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                                 No. 21-2683

                                   IN THE
                 UNITED STATES COURT OF APPEALS
                    FOR THE SEVENTH CIRCUIT


                         JANAY E. GARRICK, ET AL.,
                                               Plaintiff-Appellee,
                                      v.

                         MOODY BIBLE INSTITUTE,
                                               Defendant-Appellant.


            On Appeal from the United States District Court for the
                Northern District of Illinois, No. 1:18-cv-00573,
                     The Honorable John Z. Lee, Judge


    BRIEF OF INDIANA AND 16 OTHER STATES AS AMICI CURIAE
IN SUPPORT OF DEFENDANT-APPELLANT MOODY BIBLE INSTITUTE




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                           INTEREST OF AMICI STATES

      The amici States of Indiana, Alabama, Alaska, Arkansas, Georgia, Iowa, Kan-

sas, Louisiana, Mississippi, Missouri, Nebraska, Oklahoma, South Carolina, Texas,

Utah, Virginia, and West Virginia are home to countless citizens, organizations, and

institutions holding diverse religious beliefs. Sometimes debates over religious mat-

ters spill into secular courts. But the “very process of inquiry” into matters of religious

faith, doctrine, and leadership “may impinge on rights guaranteed by the Religion

Clauses.” NLRB v. Catholic Bishop of Chicago, 440 U.S. 490, 502 (1979). So it is es-

sential that defendants asserting that the Religion Clauses provide immunity from

suit have a right to appeal orders rejecting such defenses immediately. Wrongly per-

mitting discovery, motions practice, and trial over matters the Constitution leaves to

conscience would undermine its guarantee of religious autonomy.

      To protect citizens’ religious freedoms, amici have a significant interest in en-

suring that courts resolve religious autonomy defenses at the earliest opportunity.

Amici also have a substantial interest in protecting their own officials, agencies, and

judicial systems from excessive entanglement with religion. Doctrines permitting im-

mediate review of orders rejecting religious autonomy defenses help to ensure that

no branch of government trammels religious rights, even inadvertently.

                                     ARGUMENT

      The First Amendment’s Religion Clauses guarantee religious institutions “au-

tonomy” in matters of “faith,” “doctrine,” and “church government.” Our Lady of Gua-

dalupe Sch. v. Morrissey-Berru, 140 S. Ct. 2049, 2060 (2020) (citation omitted). Those




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provisions thus confer on a “school with a religious mission . . . independence” in the

selection of faculty “with the responsibility of educating and forming students in the

faith.” Id. at 2069. In this case, however, the district court refused to dismiss a suit

against Moody Bible Institute—an institution dedicated to educating students for

Christian ministry—by former faculty member Janay Garrick who admitted that she

“was terminated for her stated position/disagreement” with Moody’s “doctrinal state-

ment.” Dkt. 97 ¶ 96. The court reasoned that the “complaint portrays Moody’s reli-

gious justification as a pretext for gender discrimination.” SA11.

      Although amici are skeptical that the district court’s decision can be squared

with Garrick’s admissions and religious autonomy principles, they take no position

on whether the Religion Clauses bar this suit. Amici’s concern is with when that ques-

tion should be resolved—now or only after discovery, motions practice, and (poten-

tially) trial. They urge this Court to take up the question now so that a “protracted

legal process” does not itself “impinge on rights guaranteed by the Religion Clauses.”

Demkovich v. St. Andrew Apostle Parish, 3 F.4th 968, 982–83 (7th Cir. 2021) (en banc)

(quoting NLRB v. Catholic Bishop of Chicago, 440 U.S. 490, 502 (1979), and Rayburn

v. Gen. Conf. of Seventh-Day Adventists, 772 F.2d 1164, 1171 (4th Cir. 1985)). As this

Court has observed, the “harm of such a governmental intrusion into religious affairs

would be irreparable.” McCarthy v. Fuller, 714 F.3d 971, 976 (7th Cir. 2013).

I.    The Religion Clauses Protect Against Excessive Judicial Entangle-
      ment with Religion

      The First Amendment provides that “Congress shall make no law respecting

an establishment of religion, or prohibiting the free exercise thereof.” U.S. Const.



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amend. I. Together, the Religion Clauses “protect the right of churches and other re-

ligious institutions to decide matters of faith and doctrine without government intru-

sion.” Our Lady of Guadalupe, 140 S. Ct. at 2060. They also protect the “autonomy”

of religious institutions “with respect to internal management decisions that are es-

sential to the institution’s central mission.” Id. Without the power to remove a min-

ister, religious teacher, or other key personnel “without interference by secular au-

thorities,” “a wayward minister’s preaching, teaching, and counseling could contra-

dict the church’s tenets and lead the congregation away from the faith.” Id. The

Clauses guarantee “religious organizations, an independence from secular control or

manipulation, in short, power to decide for themselves, free from state interference,

matters of church government as well as those of faith and doctrine.” Kedroff v. St.

Nicholas Cathedral of Russian Orthodox Church in N. Am., 344 U.S. 94, 116 (1952).

      In guaranteeing ecclesiastical independence, the Religion Clauses do more

than provide a defense against liability. They impose a “structural limitation . . . on

the government.” Conlon v. InterVarsity Christian Fellowship, 777 F.3d 829, 836 (6th

Cir. 2015); see Lee v. Sixth Mount Zion Baptist Church of Pittsburgh, 903 F.3d 113,

118 n.4 (3d Cir. 2018) (observing the ministerial “exception is rooted in constitutional

limits on judicial authority”); Tomic v. Cath. Diocese of Peoria, 442 F.3d 1036, 1042

(7th Cir. 2006) (“A federal court will not allow itself to get dragged into a religious

controversy even if a religious organization wants it dragged in.”). The Religion

Clauses require “[r]eligious questions to be answered by religious bodies.” McCarthy,

714 F.3d at 976; see Starkey v. Roman Catholic Archdiocese of Ind., 41 F.4th 931,




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944–45 (7th Cir. 2022). It “would lead to the total subversion of such religious bodies,

if any one aggrieved by one of their decisions could appeal to the secular courts and

have them reversed.” Serbian E. Orthodox Diocese for U.S. of Am. & Canada v. Mili-

vojevich, 426 U.S. 696, 711 (1976) (quoting Watson v. Jones, 80 (13 Wall.) 679, 729

(1871)).

      The “very process of inquiry” into internal religious disputes, moreover, “may

impinge on rights guaranteed by the Religion Clauses.” Catholic Bishop of Chicago,

440 U.S. at 502 (1979); see Natal v. Christian & Missionary All., 878 F.2d 1575, 1577

(1st Cir. 1989). “By probing the ministerial work environment, the state—acting

through a court—interferes with the Free Exercise Clause, ‘which protects a religious

group’s right to shape its own faith and mission.’” Demkovich, 3 F.4th at 980 (quoting

Hosanna-Tabor Evangelical Lutheran Church & Sch. v. EEOC, 565 U.S. 171, 188

(2012)). Adjudication may “enmesh the court in endless inquiries as to whether each

discriminatory act was based in Church doctrine or simply secular animus”—a deci-

sion that courts are ill suited to make. Id. at 981 (quoting Alicea-Hernandez v. Cath.

Bishop of Chicago, 320 F.3d 698, 703 (7th Cir. 2003)). Or a “protracted legal process”

may “pit[] the church and state as adversaries,” subjecting religious institutions to

pervasive monitoring and probing. Id. at 982 (quoting Rayburn, 772 F.2d at 1171).

      The burdens of discovery and secular scrutiny, in turn, may “produce by . . .

coercive effect the very opposite of that . . . contemplated by the First Amendment.”

McClure v. Salvation Army, 460 F.2d 553, 560 (5th Cir. 1972); see Demkovich, 3 F.4th

at 982–83; Whole Woman’s Health v. Smith, 896 F.3d 362, 373 (5th Cir. 2018); In re




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Lubbock, 624 S.W.3d 506, 515–16 (Tex. 2021). “Having once been deposed, interro-

gated, and haled into court,” a religious institution may start making employment

decisions “with an eye to avoiding litigation or bureaucratic entanglement rather

than upon the basis of their own personal and doctrinal assessments of who would

best serve” the institution’s religious mission. EEOC v. Cath. Univ. of Am., 83 F.3d

455, 466–67 (D.C. Cir. 1996) (quoting Rayburn, 772 F.2d at 1171).

      Thus, as this Court and others have recognized, where the Religion Clauses

apply, they provide “immunity from the travails of a trial and not just from an adverse

judgment.” McCarthy, 714 F.3d at 975; see Presbyterian Church (U.S.A.) v. Edwards,

566 S.W.3d 175, 179 (Ky. 2018) (religious institutions are “immune not only from

liability, but also ‘from the burdens of defending the action’”); United Methodist

Church v. White, 571 A.2d 790, 792–793 (D.C. 1990) (Religion Clauses “grant churches

an immunity from civil [merits] discovery”). That conclusion reflects that the act of

“submitting [a] question” about religious matters “to a jury would undermine the au-

thority and autonomy” of religious institutions guaranteed by the Religion Clauses.

McCarthy, 714 F.3d at 978; see Demkovich, 3 F.4th at 980 (“[a]djudicating” employ-

ment claims by religious leaders against religious institutions may “lead to an imper-

missible intrusion into, and excessive entanglement with, the religious sphere”).

II.   The Collateral Order Doctrine Permits Immediate Appeal of Rulings
      Rejecting Religious Autonomy Defenses

      To avoid impinging on the Religion Clauses, it is essential that courts decide

“early in litigation” whether they bar suit. Bryce v. Episcopal Church in the Diocese

of Colorado, 289 F.3d 648, 654 n.1 (10th Cir. 2002). And it is equally important that



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parties be able to seek immediate appellate review of district court rulings rejecting

arguments that the Religion Clauses bar suit. As this Court has recognized, a ruling

rejecting a claim to immunity predicated on the Religion Clauses is “closely akin to a

denial of official immunity.” McCarthy, 714 F.3d at 975. A right to immediate appeal

is thus critical for religious defendants: “If the defense of immunity is erroneously

denied and the defendant has to undergo the trial before the error is corrected he has

been irrevocably deprived of one of the benefits—freedom from having to undergo a

trial—that his immunity was intended to give him.” Id.; see id. at 796; see also Whole

Woman’s Health, 896 F.3d at 368 (similar); Presbyterian Church (U.S.A.), 566 S.W.3d

at 179 (similar); United Methodist Church, 571 A.2d at 792–73 (similar).

      Allowing immediate appeals not only protects religious bodies from the “irrep-

arable” harm of “government intrusion into religious affairs” but advances the judi-

ciary’s interests as well. McCarthy, 714 F.3d at 796. The more the judiciary probes

into a religious institution’s decisionmaking process, the greater the danger the judi-

ciary will meddle with matters of “ecclesiastical cognizance that are not the federal

courts’ concern.” Demkovich, 3 F.4th at 983 (citations omitted); see id. (explaining the

difference between a “threshold inquiry” and full merits discovery); Tomic, 442 F.3d

at 1039 (observing the Religion Clauses protect against the “concern” that, “in inves-

tigating employment discrimination claims by ministers against their church, secular

authorities would necessarily intrude into church governance”). Immediate appellate

review helps the judiciary steer clear of civil “entanglement[s]” with religion that “re-

sult from a protracted legal process.” Rayburn, 772 F.2d at 1171. It ensures that




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secular courts do not mistakenly issue “final judgment[s]” deciding “religious ques-

tions,” which could cause “confusion, consternation, and dismay in religious circles.”

McCarthy, 714 F.3d at 976; see Demkovich, 3 F.4th at 982 (“worry[ing]” about pro-

tracted litigation and noting the “prejudicial effects of incremental litigation”).

      Garrick has suggested that Herx v. Diocese of Fort Wayne-S. Bend, Inc., 772

F.3d 1085 (7th Cir. 2014), precludes immediate appeal. But that decision focused on

“Title VII’s exemptions for religious organizations,” holding that those statutory pro-

tections do not “provide an immunity from the burdens of trial rather than an ordi-

nary defense to liability.” Id. at 1091. Herx is best understood as holding that the

Diocese did not “assert a genuine ‘right not to be tried’” but rather “only a right to

prevail” at final judgment. Starkey v. Roman Cath. Archdiocese of Indianapolis, Inc.,

No. 20-3265, 2021 WL 9181051, at *1 (7th Cir. July 22, 2021). The issue here, in

contrast, is whether the Religion Clauses themselves provide immunity from trial.

      To the extent that Herx suggests the First Amendment does not “provide[] an

immunity from trial, as opposed to an ordinary defense to liability,” 772 F.3d at 1090,

that view cannot survive this Court’s intervening en banc decision in Demkovich.

Demkovich made clear that a “‘protracted legal process’” itself “may impinge on rights

guaranteed by the Religious Clauses.” 3 F.4th at 982–83 (quoting Cath. Bishop of

Chicago, 440 U.S. at 502, and Rayburn, 772 F.2d at 1171). It “worr[ied]” about the

“prejudicial effects” of allowing discovery and motions practice in a hostile-work en-

vironment claim between a religious organization and a minister. Id. at 982. And

while the full Court observed that “some threshold inquiry” may be “necessary” to




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determine whether the Religion Clauses bar litigation in a religious employment dis-

pute, it warned courts about allowing “discovery” into the merits of an employment

dispute lest the “ministerial relationship” fall under “invasive examination.” Id. at

983. Indeed, not merely liability, but the very process of “adjudicating . . . claims”

could “lead to impermissible intrusion into, and excessive entanglement with, the re-

ligious sphere.” Id. at 980 (emphasis added).

      Moody’s argument is, in effect, that pretext claims here are just as objectiona-

ble under the church autonomy doctrine as straightforward claims that a religious

leader was fired over doctrinal disagreements. Under its view, further litigation over

the pretext issue—i.e., the true motivations of Moody’s religious leaders—would “ir-

reparab[ly]” harm the very interests the Religion Clauses protect. McCarthy, 714 F.3d

at 976; see Moody Br. 3–4, 26–37. That suffices to confer appellate jurisdiction under

the collateral order doctrine. See McCarthy, 714 F.3d at 976. Resolution of whether

the church autonomy doctrine applies here turns not on disputed facts, but on a

purely legal assessment, which makes application of the collateral order doctrine ap-

propriate. Cf. Smith v. Finkley, 10 F.4th 725, 736 (7th Cir. 2021) (observing that im-

mediate review of an otherwise appealable collateral order is inappropriate only if

“all of the arguments made by the party seeking to invoke our jurisdiction are de-

pendent upon, and inseparable from, disputed facts”) (citation omitted)); Starkey,

2021 WL 9181051, at *1 (similar). The Court should not postpone resolution of the

important question Moody raises until after merits discovery, motions practice, and

trial—at which point the immunity Moody asserts will have been lost.




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                              CONCLUSION

The Court should resolve this appeal on the merits.


                                   Respectfully submitted,

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August 7, 2023                               /s/ Thomas M. Fisher
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      I hereby certify that on August 7, 2023, I electronically filed the foregoing doc-

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